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3                               UNITED STATES DISTRICT COURT
4                                       DISTRICT OF NEVADA
5                                                 ***
6     BARTELL RANCH LLC, et al.,                        Case No. 3:21-cv-00080-MMD-CLB
7                                         Plaintiffs,   MINUTE ORDER AS TO UPCOMING
             v.                                                   HEARING
8
      ESTER M. MCCULLOUGH, et al.,
9
                                        Defendants.
10

11          The Court issues this order to provide the parties with additional guidance for the

12   upcoming merits hearing set for January 5, 2023. (ECF No. 273 (setting hearing).) The

13   Court has determined the following time limits based on the issues raised in the merits

14   briefing that warrant oral argument.

15          The Court will give Rancher Plaintiffs up to 10 minutes to present their merits

16   arguments at the Hearing. They may reserve some of that time for rebuttal. Federal

17   Defendants and Lithium Nevada will then have a combined up to 15 minutes to respond

18   to Rancher Plaintiffs’ arguments. Federal Defendants and Lithium Nevada may determine

19   how to allot their response time amongst themselves.

20          Environmental Plaintiffs have a combined 30 minutes to make their arguments, and

21   then Federal Defendants and Lithium Nevada will have a combined 40 minutes to respond,

22   which they may also allocate amongst themselves. Environmental Plaintiffs may reserve

23   some of their time for rebuttal.

24          Tribal Plaintiffs have a combined 15 minutes that they must allocate amongst

25   themselves to make their arguments, and then Federal Defendants and Lithium Nevada

26   will have a combined 20 minutes to respond, which they must also allocate amongst

27   themselves. Tribal Plaintiffs may reserve some of their time for rebuttal.

28          The Courtroom Administrator will keep track of the parties’ time.
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1           In terms of order, the Court will proceed in the order the operative complaints were

2    filed. The Court will accordingly hear argument first from Rancher Plaintiffs (along with

3    Federal Defendants and Lithium Nevada’s responses), then Environmental Plaintiffs, then

4    Tribal Plaintiffs.

5           The Court may also take some additional time to ask the parties questions. At this

6    time, as to Environmental Plaintiffs’ claims, the Court is interested in the extent to which

7    Ctr. for Biological Diversity v. United States Fish & Wildlife Serv., 33 F.4th 1202 (9th Cir.

8    2022) controls the outcome of this case. The Court expects the parties to be prepared to

9    address the scope of any relief that may be appropriate were the Court to agree with

10   Environmental Plaintiffs’ arguments based on that case and remand to BLM.

11          DATED THIS 2nd Day of December 2022.

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                                               MIRANDA M. DU
14                                             CHIEF UNITED STATES DISTRICT JUDGE
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